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10   Robert A. Dworshak
11
                              UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                    EASTERN DIVISION
14
     Michael D’Aleo and Lynne D’Aleo,            No. EDCV 19-00372
15
                Plaintiffs,
16                                               NOTICE OF REMOVAL OF CIVIL
                       v.                        ACTION
17
     Robert A. Dworshak; Maribel Pina;
18   EAN Holdings, LLC; Enterprise Rent-         [28 U.S.C. § 2679(d)(2)]
     A-Car of Los Angeles, LLC, Does 1-
19   100, inclusive,
20              Defendants.
21
     Maribel Pina,
22
                Cross-Plaintiff,
23
                       v.
24
     Robert A. Dworshak; EAN Holdings,
25   LLC; Enterprise Rent-A-Car of Los
     Angeles, LLC, Roes 1-100, inclusive,
26
                Cross-Defendants.
27
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 1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF
 2   CALIFORNIA AND TO ALL INTERESTED PARTIES, BY AND THROUGH THEIR
 3   ATTORNEYS OF RECORD:
 4         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1442(a)(1), defendant and
 5   cross-defendant Robert A. Dworshak (“Defendant”), removes to this Honorable Court
 6   the State Court action described below. The grounds for this removal are as follows:
 7         1.     On August 2, 2018, Michael D’Aleo and Lynne D’Aleo (“Plaintiffs”) filed
 8   a civil action against Defendant; Maribel Pina; EAN Holdings, LLC; Enterprise Rent-A-
 9   Car of Los Angeles, LLC in the Superior Court of the State of California for the County
10   of Riverside, entitled Michael D’Aleo and Lynne D’Aleo v. Robert A. Dworshak;
11   Maribel Pina; EAN Holdings, LLC; Enterprise Rent-A-Car of Los Angeles, LLC, case
12   no. MCC1800871.
13         2.     The civil action described above was removed on October 3, 2018, and
14   assigned to the Honorable Jesus G. Bernal, case no. 5:18-cv-02110-JGB-SHK. The
15   complaint appeared to allege personal injury for a motor vehicle accident on August 3,
16   2016, at approximately 4:35 p.m. on 1-15 northbound in the City of Temecula, Riverside
17   County, California.
18         3.     Pursuant to 28 U.S.C. § 2679(d)(2), Defendant was acting within the course
19   and scope of his employment with the United States of America at all times material to
20   the allegations contained in the Complaint. A duly executed Certification of the Chief of
21   the Civil Division for the Central District of California, attesting to the foregoing, was
22   attached to the notice of removal, and is again attached hereto as Exhibit 1.
23         4.     This Court has exclusive jurisdiction over civil actions for money damages
24   for injury allegedly caused by the negligent or wrongful act or omission of an employee
25   of the United States which purportedly occurred in the course and scope of employment.
26   28 U.S.C. § 1346(b). Additionally, this Court has original jurisdiction over all civil
27   actions arising under the Constitution, laws or treaties of the United States. 28 U.S.C.
28   § 1331.
                                                   2
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 1         5.     On November 8, 2018, Plaintiffs and Defendant stipulated to dismiss
 2   without prejudice in order to allow Plaintiffs to exhaust their administrative remedies
 3   under the Federal Tort Claims Act, 28 U.S.C. § 2675(a), which the Court approved on
 4   November 13, 2018. See case no. 5:18-cv-02110-JGB-SHK, Dkt. Nos. 7 & 8.
 5         6.     On February 3, 2019, defendant Maribel Pina in the state court action
 6   served Defendant with a cross-complaint. A copy of the cross-complaint and other
 7   pleadings received by Defendant is attached hereto as Exhibit 2.
 8         7.     As stated above, because Defendant was acting within the course and scope
 9   of employment at the time of the accident, removal of the entire action is appropriate
10   under 28 U.S.C. § 1346(b) and 28 U.S.C. § 1331. After this case has been assigned to a
11   district court judge, the United States will be substituted as the real party in interest.
12         8.     Removal is timely under 28 U.S.C. § 2679(d)(2) in that the trial of case no.
13   MCC1800871 has not yet commenced.
14         9.     Because this notice is being filed on behalf of the United States, no bond is
15   required under the terms of 28 U.S.C. §§ 2408, 2679(d)(2).
16         WHEREFORE, Defendant removes the action now pending in the Superior Court
17   of the State of California for the County of Riverside, Case No. MCC1800871, to the
18   United States District Court for the Central District of California.
19    Dated: February 26, 2019                   Respectfully submitted,
20                                               NICOLA T. HANNA
                                                 United States Attorney
21                                               DAVID M. HARRIS
                                                 Assistant United States Attorney
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                                                    /s/Chung H. Han
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